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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

UNION ASSET MANAGEMENT HOLDING
AG, Individually and on Behalf of All Others
Similarly Situated,

                       Plaintiff,
       vs.                                                  Civil Action No. 3:20-cv-00518-B
FLUOR CORPORATION, DAVID T.
SEATON, CARLOS M. HERNANDEZ,
BRUCE A. STANSKI, D. MICHAEL
STEUERT, and ROBIN K. CHOPRA,

                       Defendants.




        DEFENDANT FLUOR CORPORATION’S NOTICE OF RELATED CASE

       Pursuant to N.D. Tex. L.R. 3.3, Defendant Fluor Corporation hereby provides notice of a

related case, as defined by L.R. 3.3(2)(3). The related case, filed May 25, 2018, is styled Kin-Yip

Chun v. Fluor Corp., et al., Civil Action No. 3:18-cv-01338-X, Hon. Brantley Starr presiding

(“Related Case”). Both cases purport to bring the same claims on behalf of investors who

purchased the common stock of Fluor Corporation. The claims in the Related Case are brought

against all of the defendants named in this action, cover the entire time period at issue in this

action, and arise from a common nucleus of operative facts. Plaintiffs in the Related Action have

filed a motion to consolidate this action into the Related Case.




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DATED: April 7, 2020               Respectfully submitted,


                                   /s/ Mike Raiff
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                                   COUNSEL FOR FLUOR CORPORATION




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                               CERTIFICATE OF SERVICE

       I hereby certify that on the 7th day of April, 2020, the foregoing document was filed

using the Court’s CM/ECF system. In addition, (1) the filing is available for viewing and

downloading via the CM/ECF system, and (2) the CM/ECF system will send notification of this

filing to all attorneys of record who have registered for CM/ECF updates.


                                              /s/ Mike Raiff
                                              Michael L. Raiff




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